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                   Exhibit 9




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               Grid Computing and Health Information Sharing
                             A Platform Proposal
                                     JULY 14, 2009
                                       ROOM 100
                       THE KECK CENTER OF THE NATIONAL ACADEMIES
                                   500 FIFTH ST., NW
                                 WASHINGTON, DC 20001


                                        Meeting objectives
1. Explore the potential for the sharing and use of scientific information and electronically-
   embedded clinical data for care enhancement, monitoring and knowledge development.
2. Review the technical elements, applicability and feasibility of a specific proposed grid
   computing based platform.
3. Discuss a theoretical test case that will help illustrate the capacity and functionality, in the
   near- and longer-term, of the proposed approach.
4. Identify and consider commonalties with related activities and proposals in play.
5. Identify key remaining technical issues related to proof of concept and progress.
6. Identify follow-up important to advancing concepts and application.


                                              Agenda

     9:30 am    Coffee and light breakfast

    10:00 am Welcome, introductions and overview
                      Harvey Fineberg, President, Institute of Medicine
                      Michael McGinnis, Institute of Medicine

    10:15 am Activities in The Academies related to health information technology
                      Herbert Lin, National Research Council
                      Michael McGinnis, Institute of Medicine

    10:30 am      Large scale health data sharing: a priming overview
                      John Halamka, Harvard University
                      Ken Buetow , National Institutes of Health

    11:00 am      Introduction to the National Coalition for Health Integration (NCHI)
                      Patrick Soon-Shiong, National Coalition for Health Integration

    11:30 am      NCHI conceptual and technical overview
                      Carl Kesselman, University of Southern California
                      Ian Foster, University of Chicago & Argonne National Laboratory

    12:30 pm     Lunch
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   1:00 pm   NCHI use case: conceptual and technical issues contending with H1N1
                NCHI panel, moderated by Carl Kesselman

                Compared to the current system, and to alternative health data sharing
                paradigms, the team will describe how the proposed approach would function
                in a national outbreak of H1N1. What might we see with respect to timing,
                accuracy, and effectiveness of early detection and verification,
                communicability, incidence tracking, severity determination, impact on
                health care facilities, response effectiveness, immunization strategies,
                identifying and monitoring possible vaccine side effects, communication
                strategies, engagement of key parties—including patients and their families?


   2:00 pm   General discussion, summary, and next steps
                Michael McGinnis, Institute of Medicine
                Harvey Fineberg, Institute of Medicine
                Ralph Cicerone, National Academy of Sciences


   3:00 pm   Adjourn
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                                                       Meeting Participants


Brian Athey, Ph.D .                                                Carl Kesselman, Ph.D .
Professor of Biomedical Informatics                                Director, Center for Medical Informatics
University of Michigan Medical School                              University of Southern California

David Blumenthal, M.D ., M.P .P .                                  Leslie Lenert, M.D .
National Coordinator for Health Information Technology             Director, National Center for Public Health Informatics
Department of Health and Human Services                            Centers for Disease Control and Prevention

J. Lyle Bootman, Ph.D ., Sc.D .                                    Herbert S. Lin, Ph.D .
Dean, College of Pharmacy                                          Computer Science and Telecommunications Board
University of Arizona                                              National Research Council

Ken Buetow , Ph.D .                                                Donald A. B. Lindberg, M.D .
Director, NCI Center for Bioinformatics & caBIG                    Director, National Library of Medicine
National Institutes of Health                                      National Institutes of Health

Atul Butte, M.D ., Ph.D .                                          J. Michael McGinnis, M.D ., M.P .P
Director, Center for Pediatric Bioinformatics                      Senior Scholar
Stanford University School of Medicine                             Institute of Medicine

Basit Chaudhry, M.D ., Ph.D .                                      Chalapathy Neti, Ph.D .
Vice President and CMO                                             Associate Director, WW Healthcare Strategy
National Coalition for Health Integration                          IBM

Ralph Cicerone, Ph.D .                                             Marc Overhage, MD, PhD
President                                                          Director of Medical Informatics
National Academy of Sciences                                       Regenstrief Institute, Inc.

Denis Cortese, MD                                                  Jonathan Perlin, M.D ., Ph.D .
President & CEO                                                    President, Clinical Services
Mayo Clinic                                                        HCA.

Don Detmer, M.D ., M.A.                                            Ted Shortliffe, M.D ., Ph.D .
President-emeritus                                                 President and CEO
American Medical Informatics Association                           American Medical Informatics Association

Stephan Erberich, Ph.D .                                           Jonathan Silverstein, M.D ., M.S., FACS, FACMI
Director Functional Imaging and Biomedical Informatics             Computation Institute & Chan Soon-Shiong Scholar
Children’s Hospital of Los Angeles                                 University of Chicago and Argonne National Laboratory

Colin Evans                                                        Patrick Soon-Shiong, M.D ., M.S.
President & CEO                                                    Chairman and CEO
Dossia                                                             National Coalition for Health Integration

Phil Fasano                                                        William Stead, M.D .
Chief Information Officer                                          Associate Vice Chancellor & Chief Information Officer
Kaiser Permanente                                                  Vanderbilt University Medical Center

Harvey Fineberg, M.D ., Ph.D .                                     Steve Tuecke
President                                                          Computation Institute & Chan Soon-Shiong Scholar
Institute of Medicine                                              University of Chicago and Argonne National Laboratory

Ian Foster, Ph.D .                                                 Eric E. Whitaker, M.D ., M.P .H.
Arthur Holly Compton Distinguished Service Professor               Executive Vice President for Strategic Affiliations
University of Chicago                                              The University of Chicago Medical Center

John Halamka, M.D .
CIO and Dean for Technology
Harvard Medical School
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                    Grid Computing and Health Information Sharing
                                              July 14, 2009

                                       Discussion notes (draft)

                                  NATIONAL ACADEMY OF SCIENCES
                                        WASHINGTON DC

Background context
With the national commitment to universal application of electronic health records, and their
expanded use globally, the prospect is at hand for an entirely new resource and approach to the
sharing and use of health information for clinical care, public health, and the conduct of clinical
research. Several concepts, pilots, and operational approaches are currently under way to explore
and advance the capacity. With the sponsorship of the Foundation for Translational Science, a
meeting was hosted at the National Academies on July 14, 2009, to bring together knowledgeable
stakeholders for a discussion of needs, opportunities, current approaches, priority issues, and
potential next steps in fostering progress. Presented here is an informal summary of the discussion, which
should not be interpreted as consensus ofthe group or ofthe Institute ofMedicine or the National Academies.

Meeting goals
• Explore the potential for electronically-embedded clinical data and scientific information to be
  shared and used on a large scale to improve clinical care, public health, and the conduct of
  biomedical research.
• Review the technical elements, applicability and feasibility of a specific proposed grid computing
  based platform.
• Discuss a hypothetical test case that might help illustrate the capacity and functionality of the
  proposed approach, in the near- and longer-term.
• Identify and consider commonalties with related activities and proposals in play.
• Identify key remaining technical issues related to proof of concept and progress.
• Identify follow-up important to advancing concepts and application.

Participants
Meeting attendees came from multiple sectors—research facilities, academic institutions, private
corporations, government, health care organizations—and represented deep expertise and
experience in path-breaking development and use of technology to manage information. Particular
expertise was represented in the use of information technology for storage, retrieval, sharing, and
use of clinical data. The meeting agenda and participant list follows this summary.

Agenda flow
• Introductions, comments on participant interests, and overview of activities in the Academies
   related to health information technology
• A priming overview of large scale health data sharing approaches
• Introduction to grid computing and large scale health data sharing and management
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•   Overview of the National Coalition for Health Integration (NCHI), and conceptual and
    technical presentation of NCHI strategy
•   Use case: exploration of the conceptual and technical issues in the proposed strategy’s
    contending with a hypothetical H1N1 outbreak
•   General discussion, summary, and highlighting of next steps in advancing the concepts and
    applications.

Discussion highlights
National Academies’ HIT perspectives and work. Opening greetings from Harvey Fineberg and Michael
McGinnis, underscored the importance of HIT to improving the many dimensions of health care,
from education and research—basic biomedical to translation and CER, to decision support, quality
improvement, developing learning systems, to community health interests (e.g. monitoring, tracking
health based interventions, post-market surveillance). Grid computing has been successful at
improving computational capacity in many fields and in anticipating science or policy emerging
around efforts to use it for large scale clinical data sharing and use for clinical improvement, a key
issue will be to understand to what degree it represents a strategic advantage for accomplishing the
many functional requirements for HIT. Emphasis was given to the potential for synergy among the
participants present.

In introductory observations, participants underscored a number of issues and objectives as
particularly important for the meeting’s discussions, including progress in: achieving greater clarity
on principles or sets of principles that can guide the process and outcomes of cooperative efforts,
better characterizing the potential impact of effective data sharing capacity; sharper insights on
technical advances needed, including what might be learned from other industries’ experience; ways
in which the field of computer science and systems engineering might contribute; identifying
possible areas of partnership—with whom, why, and how; practical applicability and next steps (e.g.
what is the big project or idea, how might these ideas be tested or feasibility demonstrated?

Herb Lin of the Academies’ Computer Science and Telecommunications Board gave a short
summary of the report of the Committee on Computational Technology for Effective Health Care.
He noted that the Committee undertook its work by drawing from previous Academy work, the
published literature, and a series of strategic site visits, in addition to member expertise. The report’s
central conclusion was that “current efforts aimed at the nationwide deployment of health care IT
will not be sufficient to achieve the vision of 21 st century health care, and may even set back the
cause”, if additional emphasis is not given to computer-embedded cognitive support for clinical
decision-making. Criticisms of current approaches focused on their primary aim at automating
existing paper-based forms (tasks, business processes, regulatory compliance, documentation) rather
than focus on providing cognitive/best care support, linking care with research, and design for good
human-computer interaction. Of the 5 domains of IT in health care—automation, connectivity,
decision support, data mining, modeling—only the first two receive attention. Recommendations
were offered for ways health care organizations, the government, and the computer science research
community might foster near-term evolutionary progress (with cognitive aids for clinicians and
patients, better integration of technology into workflow, and improved data recording), while setting
the stage for longer-term radical or disruptive change (in architecture and workflow design, broad
scale data archiving and real-time context-accommodating information mining).

Large scale health data sharing overview . John Halamka of Harvard Medical School led off the formal
agenda discussion with a brief primer on healthcare information exchange efforts, touching on
players at the national level, the profile of architectures and standards, and examples of two
approaches: decentralized messaging as in Massachusetts, and centralized and normalized approach,
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as in Indiana. He noted that, at the national level, the Office of the National Coordinator for Health
IT has formed several workgroups: the HIT Policy Committee (with working groups on meaningful
use; certification; and health information exchange); the HIT Standards Committee (with working groups on
clinical operations; clinical quality; and security and privacy). Also active are the Health IT SP , which brings
together over 700 organizations to harmonize standards, CCHIT, and the Nationwide Healthcare
Information Network. Halamka then reviewed work ongoing in Massachusetts and Indiana to
illustrate how different architectures have been utilized for health care information exchange, with
the former using a decentralized messaging gateway framework built on the network of each
participating institution, and the latter using centralized and normalized repositories.

Grid computing approaches to large data sharing. Ken Buetow of the National Cancer Institute provided
the meeting’s overview of grid computing approaches. At the basic level, grid computing is the act
of sharing tasks over multiple computers, which, joined together, act like a virtual super-computer.
Modern supercomputers are built on the principles of grid computing. Tasks can range from data
storage to complex calculations and can be spread over large distances. The key is in the
infrastructure to handle computation, data movement and storage over large grids without
dependence on specific hardware and requirements. The difference between grid computing and
cluster computing is that grids have no centralized management, each computer is independently
controlled, and can perform tasks unrelated to the grid. Computers in a grid do not require the same
operating system or hardware and are loosely connected.

Buetow began with a description of the different layers and uses of health information exchanges—
some to facilitate direct patient care, some to facilitate the systemic dimensions of care (e.g.
regulatory, payment, reaching underserved), and some to facilitate monitoring and research. He
shared Kesselman and Foster’s definition of a grid as “hardware and software infrastructure that
provides dependable, consistent, pervasive and inexpensive access to high-end computational
capabilities” , noting that they use standard, open, general purpose protocols and interfaces to
coordinate resources not subject to centralized control. He described what he termed as the three
grid “philosophies” 1) closed consortia addressing specific problems with “local” semantics (e.g.
Biomedical Informatics Research Network); 2) individual groups accessing community resources
using their own semantic mapping (e.g. myGrid); and 3) communities accessing local and
community resources with common semantics (e.g. cancer Biomedical Informatics Grid—caBIG).
Buetow concluded with a discussion of the potential of networking multiple grids, and summarized
the key prerequisites: explicit system-readable contracts, explicit data definitions, enterprise-wide
functionality, implementation decoupling, role-based security, traceability, choreography enablement,
government, explicit human-readable contracts, formalized community communications.

Grid computing and health care. Patrick Soon Shiong of the National Coalition for Health Integration
(NCHI) introduced the discussion of the potential of grid computing to improve health care,
underscoring the compelling contemporary health challenges—e.g. growing prevalence of chronic
diseases, rapid increases in costs of care, 5% of patients incurring 55% of healthcare costs
(Wellpoint data), medical treatment as essentially reactive in character, clinical decision-making
complicated beyond clinician capacity—and noting the need for real-time evidence development
with integrated data gathering and analysis systems employing genetic information and continuously
improving predictive models to deliver tailored guidance at the point of care. He described this as a
complex adaptive systems challenge—the sort described in the IOM report Crossing the Quality
Chasm—requiring large-scale collaboration, integration and interoperability, and using the full range
of available information processing and signal detecting technologies. This is the aim of the NCHI,
and the networks of partnerships it is fostering in its efforts to transform health care.
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NCHI platform proposal for grid computing and health information sharing. A conceptual and technical
overview of the NCHI platform proposal was coordinated by Carl Kesselman, including
contributions from Basit Chaudhry, Stephan Erberich, Ian Foster, and Steve Tuecke. Noting that
much of health care takes place in the zone of complexity typical of complex adaptive systems, he
pointed out that the individuals and institutions involved act, in effect, as overlapping Virtual
Organizations (VOs) with common goals and needs for sharing of meaningful information. A key
need is to identify ways to make it easy for these groups to form and ensure great return for little
initial investment to facilitate growth over time. The grid paradigm offers an approach to break
down this very complex problem into issues that can be addressed: principles and mechanisms for
dynamic VOs; leveraging service oriented architecture (SOA); loose coupling of data and services;
and open software (not essential, but valuable driver of adoption) and open architecture. The
platform services take data sources (medical records, labs, genomics, imaging, pathology, RHIO) and
make the data usable and useful (integration), name data and move it around (management), make
data accessible over the network (publication), and manage who can do what (security). The
paradigm also includes integration of value services (cognitive support, applications, analysis). Access is
determination by various features—e.g. lists, identity codes, roles, attributes.

These services help to partition the multi-faceted interoperability problem into three different layers:
process interoperability—how to integrate across healthcare enterprise (Applications and Analysis); data
interoperability—syntactic (among system elements), semantic (across system elements) (Integration);
and systems interoperability—how to communicate securely, reliably among system elements
(publication, management). Highlights include:
• Security and policy (access authorizations): the key is to attribute authorities—structure information
     transfer according to attribution rather than individuals. This approach is currently used by
     caBIG architecture.
• Publication (make information accessible): The goal is simply to provide data to those qualified to
     use them—only well defined pieces of information are released into system. The grid serves as a
     gateway from local policy/protocol into wide area mechanism—tight control (the approach is
     currently in use by: Children’s Oncology Group VO and Neuroblastoma Cancer Foundation).
• Management (naming and moving data): the challenge is to develop persistent, uniform global
     naming of objects—independent of type, and orchestrate data movement among services.
     Currently there is no systematic way of naming health objects—the grid approach is to develop a
     health object identifier (HOI)—a global infrastructure for taking a string and resolving into
     information necessary to allow global data movement.
• Integration (making data usable and useful): Can take a rigid standards approach with 100%
     syntactic and semantic agreement or the loosely coupled approach, in between, adaptive
     approach, scope the problem down, get some agreement established but accept that this is not
     feasible? A more useful approach is Integration via mediation in which the capacity to move to
     a common interpretation is build into the network. A query to the local data is in the same form
     as which the data are published, and mapping between local and national levels can be described
     to map between models.
• Analytics (transform data into knowledge): the challenges of analytics were illustrated in the huge
     backlog of data created by genetic and genomics research that have the potential to improve
     patient care.

Use case: contending with an H1N1 outbreak . An illustrative case study was offered by reviewing how
the grid might function during an outbreak of the H1N1 virus. In this circumstance, with initial
report of scattered cases over several states, the players are multiple (HHS, CDC, state public health,
state and national reference labs, local hospitals and providers. It is a circumstance requiring
seamless real-time capture of case reports as they are identified. Intervention steps would include:
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•   Establish a virtual organization (VO) including CDC, state public health, labs, including roles &
    policy
•   Experts define data model for prevalence (diagnostic standards, epidemiologic requirements,
    incidence, transmissibility, severity), HOI to track back to patient record and create audit trail,
    configure mediators to aggregate prevalence
•   Develop model for parameters of interest (HOI allows correlation on a per patient basis);
    configure mediators, refine models
•   Model to determine vaccine optimizing strategy
•   Characterize rapid care VO (patient, ID experts, radiologists, primary care physician, public
    health officials, local epidemiologists, supply chain managers, (perhaps even remote/tele-heath
•   Continuous updates of models as disease plays out.

Points to ponder
The meeting’s discussion touched on various aspects of the presentations and related issues. Prior
to the conclusion of the meeting, each participant was asked to offer a brief perspective as to:
1. Counsel for NCHI’s next steps to accelerate its progress in working to develop a practical,
    workable model for real-time clinical data sharing and use for care, public health and research?
2. Suggestions on policy approaches—e.g. under the stewardship of the Office of the National
    Coordinator for Health Information Technology (ONC)—that might enhance progress,
    receptivity, and natural patient-clinician adaptation to the seamless flow of clinical data for use
    in care, public health and research?.
3. Thoughts on ways that the National Academies ought to consider facilitating or accelerating
    progress?

Observations and suggestions offered include those noted below, recorded without attribution but
they represent specific comments made as individual opinions. They are not intended to represent either
consensus ofthe participants or views ofthe National Academies or Institute of Medicine.

General
• Independent of the technical and programmatic possibilities from grid and other large scale
   clinical data sharing approaches, progress toward the vision expressed throughout the discussion
   depends on two basic pre-conditional elements: 1) full implementation of EHRs throughout
   clinical care, and 2) EHR structures that are fundamentally oriented to learning—through
   cognitive assistance delivered at the point of care, and through capture and sharing of clinical
   experience and outcomes.
• The pace of progress in any large scale data sharing initiative may be directly related to how
   quickly the effort shows utility for patients and patient care, so attention to demonstrating
   problem solving is a key priority.
• Similarly, it is important to assess and describe the potential policy and population-wide utility
   (value add) of the capacity to harness large-scale data sets (e.g. setting community health
   priorities, tracking program effectiveness, use in programs like the Critical Path Initiative for
   drug discovery).
• Building trust is a key component of any initiative whose primary aim is sharing and use of data.
• The toughest technical challenge is at the integrative layer, which needs to be “pre-corrugated”
   as a practical matter.
• A number of content issues must be considered from the outset, such as how increasingly
   available molecular data will be integrated and put to larger uses.
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National Coalition for Health Integration
• The grid platform approach has significant potential to help transform health care, and one that
   underscores recent findings in the NRC report on Computational Technologies for Effective
   Health Care.
• Expression of the vision and an inventory of the Grand Challenges to large scale clinical data
   sharing are needed for long term progress; but in the near term, goals must be realistic and
   approachable—and exhibit measurable progress.
• Additional testing of the “proof of concept” is needed through the conduct of pilot studies both
   to demonstrate the feasibility and practical utility of the technology, as well as to identify the
   elements of the approach needing particular attention.
• To move forward with illustrating the impact of grid computing on health care problems,
   participants suggested several topics or audiences, including:
   - A project to illustrate how the discussed techniques will help folks ‘in the trenches’ of health
        care delivery and policy development advance their work
   - Reconciliation of the Veterans’ Administration and Department of Defense systems.
   - Reconciliation of systems from some of the established EMR vendors (e.g. systems of the
        customers of the top 5 EMR vendors)
• Pilots must be sufficiently large to demonstrate benefit—a key challenge in this respect will be
   reaching certain the level of adoption needed to realize important secondary effects.
• Develop next steps: identify some ‘ready-made’ virtual organizations—communities for which
   there is an alignment of needs and an urgency to address.
• The Memphis information exchange model was suggested as a useful reference and resource for
   NCHI.
• Concerns and cautions expressed included:
   - Overestimation of the biomedical community’s capacity to provide real-time information
   - The integration layer is the most complex piece, particularly when considering issues of
        scale, and a workable solution to that challenge must be demonstrated.
   - Clarity is needed on what the upfront costs might be for possible participants
   - Using federated naming and data sharing architecture for various types of mining and
        evidence, one must think about architecture for federated analytics—i.e. moving the
        analytics to the source of data.
   - May be more useful to think about three pillars simultaneously: 1. infrastructures for
        evidence generation and CER; 2. how to architect POC systems for highly usable systems
        (no disruption to workflow , etc.; and 3. incentives for one and two—for progress, payment
        systems and incentives must be in place.
   - Perhaps the central challenge will be convincing participants to share data.

Policy approaches
Note: Special emphasis is indicated on the fact that this meeting was not convened to develop policy recommendations
for any government body, and items noted are individual opinions and not formal counsel ofany entity.
• National (i.e. ONC) leadership and strategy is central to the primary challenge of providing the
     economic and professional incentives to catalyze clinician acceptance and productive use of
     EHRs.
• Such leadership is also important to advancing the discussion of large scale interoperability
     beyond the creation of standards.
• With large scale data sharing technologies, the issue is not likely standards—which can become
     ceilings and not floors—but tools that are facilitative.
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•   There are currently few technical barriers to the type of work discussed, and, without careful
    construction, rules and standards might in certain circumstances restrict innovation, or otherwise
    impede progress.
•   Especially important is keeping imposition on source organizations to a minimum.
•   In response to an invitation for suggestions on the rules that need to be changed or put in place,
    so that the emergent information systems are as functional as possible, a few were suggested:
    - Simple set of standards for transport is key (e.g. no modification, parties understood)
    - Simple standards to ensure the reliability of data (e.g. basics on encryption and security)
    - Rules that describe low-level conductivity (e.g. how do the various entities interact?)
•   Given the stakes, some potentially high-risk initiative by ONC is important to help the field
    experiment and find new approaches (e.g. quickly-funded, test cases to better understand the
    scalability needed).
•   Consider redefining interoperable data to emphasize a stable meaning over time (“data that can
    be aggregated and interpreted in light of existing and evolving data”)
•   Look beyond the simplistic, pure vendor model. Focusing on one technology to encompass the
    many facets of functionality needed, can ignore the complexity of the issues at play.
•   Avoid mistakes of UK (building HIT from scratch); existing platforms can be built upon.
•   Avoid separating and segmenting the fields of biomedicine
•   Develop metrics of how well our health care system is responding to HIT integration efforts.

The Academies/Institute ofMedicine
• Expand the day’s discussion to involve a broader audience and explore in more detail the related
    activities under way, the technical issues at hand, the policy and governance questions to engage.
• In the right circumstances, work of the IOM and the Academies can help foster a vision for
    progress, help articulate a national goal, and help identify the types of simultaneous initiatives
    needed to get there. Work engaging several different dimensions is needed (e.g. facilitated use of
    clinical data for new insights, standards for evidence, means of accelerating application to patient
    care and tracking results, federal oversight issues, coverage policies).
• As a natural honest broker and convene, the IOM and the Academies might help foster cross-
    agency and sector interaction facilitative to:
    - Provide a neutral venue to convene vendors with other stakeholders for discussions and
         activities.
    - Provide an umbrella organization to support and nurture work needed to bring about greater
         synergy in work on large scale clinical data sharing.
    - Facilitate needed discussion of the grid platform proposal and the development of a pilot
         project or technology feasibility study. Players include FDA, NIH, IBM, CDC etc.
• Foster a dedicated conversation/pilot project on the development of the Health Object
    Identifier as a key translational element.
• Several topics were also suggested for exploration, through committee consensus reports or
    other mechanisms, including possible studies on:
    - What it means to work at the level of the plan to coordinate care around the patient and the
         implications information and data mobilization.
    - Implications of payment reform discussions on the ability to develop and sustain the
         platform necessary for the work discussed at the meeting
    - Phase 2 of NRC study on Computational Technology for Effective Health Care to support
         research on how to work with multi-scale models etc.
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Next steps
  1. Solicit follow-up comments from participants and selected others on additional suggestions
       for constructive action—on field, policy, and collaborative issues.
  2. Schedule and convene a larger workshop to broaden the discussion, focusing on:
           a. More extensive discussion of approaches to large scale data sharing, including grid
               computing
           b. Consideration of cross-cutting issues in need of collaborative engagement
           c. Exploration of potential governance issues, mechanisms, and strategies
  3. Consider collaborative work to identify in greater specificity the technical and data quality
       barriers to the development of a practical large scale clinical data utility, the possible
       solutions and ways to accelerate testing, and the prospective “value add” for health care,
       public health and research.
  4. Explore with DOD and the V A interest in involvement in a collaborative pilot.
  5. Consider a dedicated follow-up conversation on the development of the Health Object
       Identifier as a key translational element.

APPENDIX
Meeting agenda and participant list




NOTE: The Academies convened the meeting on Grid Computing and Health Information
Sharing as a preliminary review of the state-of-play in the arena. It also served as a means of
informally identifying opportunities to accelerate progress in the field of large scale clinical
data sharing and use to improve medical care, public health, and biomedical research. The
Institute of Medicine is grateful to the participants for sharing their individual expertise and
insights, and to the Foundation for Translational Science for its support of the meeting.
Neither the meeting nor these discussion notes should be interpreted as endorsement or
validation by the Academies or meeting participants of any particular technology, product
or approach.
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        THE ROADMAP TO HEALTHCARE TRANSFORMATION:

                   THE INTEGRATED HEALTH NETWORK
              A CONTINUOUSLY LEARNING HEALTHCARE SYSTEM




                      Many Lives. Common Cause.


   A commitment by visionary national leaders in philanthropy, academia, and the
   private sector to chart a new course toward health integration for patients in the
               United States and to share this innovation with the world.

     This national initiative re‐imagines the way patients, doctors, and researchers
    across the nation can securely access actionable health information at the point
    of care, in the time of need, for the lowest cost — a next‐generation Internet for
   secure health information, transforming complex big data to evidence‐based care
                and a continuously learning healthcare system in America.
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         The National Cooperative and The Cancer Collaborative*


                                        Non‐Profit Entities
                         The Chan Soon‐Shiong Family Foundation
                  The Chan Soon‐Shiong Institute of Molecular Medicine
                                  The Clinton Foundation
                          National Coalition for Health Integration
              Bipartisan Policy Center CEO Council for Health and Innovation


                                Private Sector Collaborators
                                             NantHealth
                                           Bank of America
                                         Celgene Corporation
                                       The Coca‐Cola Company
                                       Verizon Communications


                       Academic & Health System Collaborators
                                         City of Hope
                             Childrens Hospital of Los Angeles
                               Childrens Hospital of Phoenix
                           Dartmouth‐Hitchcock Health System
                                  Greenville Health System
                                John Wayne Cancer Institute
                                  Methodist Cancer Center
                                University of California Davis
                     University of California Los Angeles Health System
                               University of Colorado Denver
                     University of Texas, M.D. Anderson Cancer Center


For more information please contact:
Info@CancerCollaborative.org
                                                                          *as of January 2014
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I.      Executive Summary

As America reforms healthcare, how do we ensure quality and lower costs?

How can each doctor or hospital keep pace with the complexity of medical advances and
explosion of scientific knowledge?

How can we battle the perverse incentives that often tilt the system toward self‐interest
instead of medical quality?

We believe integrating information in real‐time is the answer. Biomedical information is
transformational when it is correct, evidence‐based, accessible, organized, timely, patient
specific and integrated in directly usable manner with all other complex data relevant to the
problem available across all relevant disciplines in the era of molecular genomic medicine.

We have the technology to deliver actionable health information on a national scale at the
point of care, in the time of need, for the lowest cost.

Because of the dramatic computational and technological advances that have occurred in the
last decade, large scale distribute architectures (grid computing) have been created that are
able to handle the scale and complexity of America’s sprawling healthcare system. Much of this
extraordinary innovation has been funded by the federal government but had never been
applied to the healthcare field.

When he signed the stimulus bill, President Obama said:
      “Because we know that spiraling health care costs are crushing families and businesses
      alike, we're taking the most meaningful steps in years towards modernizing our health
      care system. It's an investment that will take the long overdue step of computerizing
      America's medical records to reduce the duplication and waste that costs billions of
      health care dollars, and medical errors that cost thousands of lives each year.”

        But there are already problems on the horizon.

     1. The formats of these different electronic medical records are not compatible with each
           other. As the AP recently noted, “Many hospitals that have gone electronic have
           systems that cannot share information with another hospital or doctor.”

           So if a patient goes to a hospital that uses one of multiple proprietary EMR software
           systems, and asks her doctor ‐‐ who uses a different EMR software system ‐‐ to send
           her medical records electronically to the hospital, it won’t be possible.

     2. In a New England Journal of Medicine article, Dr Kenneth Mandl and Dr. Isaac Kohane of

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           Harvard write that the EMRs being developed are “pre‐Internet era software – costly
           and wedded to proprietary standards that make it difficult for customers to switch
           vendors and for outside programmers to make upgrades and improvements.”

   3. In short, the EMRs being developed will likely modernize the offices or hospitals that
          share the same software, but they will not actually create a national network.

           The Electronic medical records being driven are not compatible with each other or
           scalable for the whole country.

This initiative is about deploying the most robust, modern, open‐source and flexible grid
computational technology available to integrate all possible sources of healthcare data. It’s
about making complex molecular genomic and proteomic data accessible at a national scale so
that it can be used to provide the best actionable information at the point of care, in the time
of need. And it’s about achieving those ends while guarding privacy without compromise. This
Intelligent Clinical Operating System (iCOS) can improve millions of lives and save billions of
dollars.

Imagine if researchers could tap into the real experiences of doctors around the country with a
simply query, or instantly find a group of patients who might take part in a new clinical trial.
Imagine a physician who could type in a patient’s diagnosis and get a reply that not only offers
best treatment guidelines, but nearby clinical trials underway, diagnostic imagery from similar
cases and local pharmacies’ prices for several drugs the physician might prescribe. Imagine
patients and payers sharing the knowledge they need to make the best decisions at every step,
before treatment begins.

Imagine if life‐threatening diseases such as cancer, diabetes or kidney failure were detected
earlier? For example, the warning signs of diabetes and kidney failure are often buried in
routine blood tests or eye exams. Early treatment can deter end stage renal failure. This
technology could alert doctors to the warning signs buried in the data. Right now kidney
disease accounts for twenty percent of all healthcare costs in this country ‐‐ $744 billion dollars
annually. If even five percent of these costs were eliminated, it would save $370 billion dollars
over the next ten years for just kidney disease.

Imagine if metastatic cancer such as stage 4 cancer of the pancreas was not a death sentence.
Imagine if such patients could be placed in remission, and be alive 5 years after this dreaded
diagnosis of end stage pancreatic cancer. Such remarkable results may be dependent on the
patient’s and provider’s access to an intelligent clinical operating system, access to the world’s
fastest supercomputer with the world’s largest cancer genome database, and informed by the
latest clinical protocols. Imagine no more ‐ such results exist.

Imagine if the tools existed to monitor cancer cells from the blood, and quantitatively predict
the molecular changes in a cancer cell as it happens in real‐time before diagnosis, after


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diagnosis, and after chemotherapy. This “liquid biopsy” will forever change cancer care.
Institute scientists have now accomplished this goal of retrieving cancer cells from the blood.

The technology exists. The hardware and advanced fiber network is largely in place. The
information is all around us.

The National Cooperative is a partnership of the Chan Soon‐Shiong Family Foundation, the
Chan Soon‐Shiong Institute for Molecular Medicine, the National Coalition for Health
Integration, Celgene Corporation, NantHealth, Bank of America, The Coca‐Cola Company,
Verizon Communications, The Clinton Foundation, major academic centers, and health systems.
The National Cooperative is pioneering a way for the complex macro‐ecosystem of people and
institutions to make their own information available and ask for others’, while keeping the very
highest standards for patient privacy in place…a National Healthcare Learning System for best
care at lower cost. In part it is a software solution, putting the best computation scholarship to
work where it matters most. In part it is a social solution, helping all the participants in the
world of healthcare to understand the benefits they would reap from a new approach of
collaboration and information sharing for the common good.

The Institute of Medicine (IOM) report on “Delivering High Quality Cancer Care” describes the
delivery of cancer care in our country as a “System in Crisis.” The report notes that complex
new life‐saving treatments may be unavailable to patients in the community who lack access to
sophisticated next generation tests and clinical trials. Yet, the vast majority of cancer care is
delivered by community oncologists. This disparity in care means that important cancer
advances will not reach the majority of patients in desperate need for them.

The National Cooperative would raise the standard of healthcare for all Americans, especially
those who are underserved by giving doctors in hard‐pressed urban clinics and distant rural
offices the same information and intellectual advantages that providers in the best teaching
hospitals have. It is a way to tap the knowledge, the work and the potential now hidden in our
system, and make it available to all.

The Chan Soon‐Shiong Family Foundation has committed a billion dollars to the pursuit of this
initiative. Since 2006, Dr. Patrick Soon‐Shiong has funded initiatives to harness the convergence
of wireless connectivity, advanced supercomputer networks, nanotechnology and the next
generation genomic revolution all in the pursuit of creating a National Information Highway to
transform healthcare in our nation and fundamentally change the way patients are treated.

To that end Dr. Soon‐Shiong has funded The National Coalition of Health Integration, The
National Lambda Rail, The Cancer Genome Browser, The Healthcare Transformation Institute,
The Cancer Knowledge Action Network, the CEO Council for Health and Innovation at the
Bipartisan Policy Center, and NantHealth, all of which have each initiated programs across the
nation between 2006 to 2013 to further a National Integrated Continuous Learning Healthcare
System, integrating complex big data in real‐time, and placing the nation on the path to the
cure for cancer.

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Several National Cooperative Initiatives are already underway:

   A. The Nation’s First Intelligent Clinical Operating System (iCOS) is installed in the largest
       oncology practice group in the nation and driving value based care across 150 practices,
       integrating 50 individual systems, managing 3.3M patient records across 22 EMRs, with
       real‐time data feeds of 50GB per day.
       This is the first cloud‐based operating
       system of its kind in healthcare that is
       based on supply chain principles and grid
       service oriented architecture, that
       integrates the knowledge base (21st
       century best care), with the delivery
       system (coordinated integrated care),
       and the payment system (highest quality
       at lowest cost).

   B. Cancer Decision Support Engine as a SAAS tool is providing real‐time access to over
       1,700 evidence based oncology treatment regimens and a library of 10,000 ongoing
       clinical trials is currently used by over 50 percent of US oncologists equating to 32M
       covered lives.

   C. Real‐time Wireless Biometric and Vital Sign Health Boxes are installed on a national
       scale. Device connectivity is now operational at over 250 hospitals, including 120 Epic
       sites, connecting over 6,000 medical devices and capturing 3 billion vital signs annually.

   D. Advanced Fiber Network is connected across the nation to the NCHI supercomputer in
       Arizona. This network began with the National LambdaRail (NLR), a fiber infrastructure
       designed for basic science and the physics scientific community. There is an urgent need
       to replace this aged infrastructure of the NLR with a modern fiber network integrated
       into clinical practices and hospital facilities across the nation. The National Cooperative
       has initiated this process of creating a new next generation national secure
       infrastructure for big data transport with the private sector.

   E. Advanced Cloud Based Bidirectional Hospital‐Based and Patient Health Electronic
       Medical Record System is currently in operation in 12,700 facilities across 13 countries
       globally.

   F. The Nation’s First Comprehensive Molecularly Driven Clinical Decision Platform is
       operational, deriving insight from DNA to Protein to Peptide to Drug in near real‐time,
       before clinical treatment begins. In July 2012, the CSS Institutes’ scientific team
       collected 6,017 tumor and germline exomes, representing 3,022 cancer patients with 19
       unique cancer types. This massive amount of data totaled 96,512 gigabytes and was
       successfully transferred and processed via the Institutes’ supercomputing, high‐speed
       fiber network in 69 hours. This overall transfer speed represents a stream of one sample

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       every     17.4     seconds,    and      the
       supercomputer analysis for genetic and
       protein alterations between the tumor and
       normal sample completed every 47
       seconds per patient. Given the nation’s
       estimated cancer rate of 1.7 million new
       cases in 2012, this infrastructure now
       brings the capability of analyzing 10,000
       patients per day. By 2013, this library has
       grown to over 16,000 cancer genomes
       processed.

       By transcending the genome and entering the age of the proteome, it is now possible to
       trace in near real‐time the evolution and change occurring in the cancer cell and
       identifying the driver of growth. CSS Institutes scientists have successfully connected
       cancer genomic analysis to the proteomic analysis, and have established the nation’s
       first comprehensive molecularly driven clinical decision platform, deriving insight from
       DNA to protein to peptide to drug in near real‐time, before clinical treatment begins.
       Through this comprehensive molecular analysis network, doctors can finally make
       cancer treatment more efficient, more effective, and more affordable for more patients.
       With public and private partners equally as committed to reshaping the way doctors
       deliver healthcare and treat cancer, there are no limits to what this health information
       breakthrough might lead to for all cancer patients.

   G. Monitoring Cancer from the Blood (“Liquid Biopsy”): In 2013, Institute scientists
       demonstrated the nation’s first ability to retrieve circulating tumor cells, based on their
       physical characteristics from the blood in patients with metastatic pancreatic cancer
       while on chemotherapy. This capability of retrieving cancer cells from the blood (one in
       a billion circulating cells), revolutionizes the capability of monitoring patients with
       cancer‐ before the diagnosis, during treatment, and after the treatment. Combined with
       the revolutionary integration of genomics and proteomics we now have tools for the
       first time to move at the speed of change, matching that of the cancer cell‐ a technology
       that has eluded us thus far in our quest to cure cancer.

The Chan Soon‐Shiong Family Foundation and Dr. Soon‐Shiong’s umbrella organization,
NantWorks, have made significant investments to these early efforts. The next step is to create
a public‐private partnership that builds upon these current projects underway to bring to life a
truly global network. It is an ambitious goal, on the order of the first‐generation Internet or the
Human Genome Project.

Over the last decade, working both as a philanthropic enterprise and working with the
leadership from Fortune 500 companies, this collaboration has developed an operational
national health network architecture and assembled a broad coalition committed to seeing it
put to work.

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In 2014 the Chan Soon‐Shiong Institute for Advanced Health will launch Institutes of Molecular
Medicine across the nation. The Chan Soon‐Shiong Institutes of Molecular Medicine (CSS
IOMM) mission is to fundamentally transform how patients afflicted with life threatening
diseases, such as cancer, are treated. An alliance of these Institutes and other leading medical
centers across the nation will form The Cancer Collaborative to facilitate rapid sharing of
molecular information on a global scale amongst these Institutes. This collaborative will
transfer knowledge to the underserved and to practicing physicians in the communities in real‐
time, thereby ensuring that 21st century medicine would benefit all, a national continuously
learning healthcare system in America. Current members of the Cancer Knowledge Action
Network, Genomics America, and The Cancer Collaborative include UCLA Health System, John
Wayne Cancer Institute, Methodist Cancer Center, University of California Davis, Childrens
Hospital Los Angeles, Dartmouth‐Hitchcock Health System, Greenville Health System, Childrens
Hospital of Phoenix, City of Hope, University of Texas M.D. Anderson Cancer Center.


Partnership with the Clinton Foundation

In January 2014 at the Clinton Health Matters Conference, NantHealth and the Clinton
Foundation announced a collaborative partnership to improve domestic health nationwide.
This initiative will target key issues facing healthcare in our nation:
         Coordination and integration of care through the deployment of Intelligent Clinical
             Operating Systems and standardization of digital medical records in underserved
             communities, such as Coachella Valley and Central Arkansas
         Improving employee population health
         21st century cancer care in the era of genomics through a National Cancer
             Collaborative

NantHealth will deploy its Intelligent Clinical Operating System (iCOS) in two underserved
communities being targeted for assistance by the Clinton Health Matters Initiative ‐ Central
Arkansas and the Coachella Valley. Within each community, NantHealth will provide technical
resources, clinical expertise, and philanthropic support to implement iCOS. Through this
deployment NantHealth will establish a uniform digital standard of health communication to
enable integrated health network and coordination of care – so that patients and providers can
securely access actionable health information at the point of care, in the time of need – a next
generation Internet for secure health information, transforming complex big data to evidence‐
based care and a continuously learning healthcare system in America.

The partnership between NantHealth and the Clinton Health Matter Initiative will also work
with other organizations such as Bipartisan Policy Center CEO Council on Health and Innovation
and local experts to develop long term plans designed to measurably improve the health and
wellness of individual employees and employee communities. As part of this endeavor, the
partnership will adopt a comprehensive package of customized well‐being practices, to be
endorsed and implemented by large and medium‐sized employers in the region.


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In Summary

At an annual spend of over $2.7 trillion the United States boasts the largest expenditure for
healthcare on the planet. This rate of expenditure is unsustainable, threatens the future
economic, security and wellbeing of the country. Yet with all this spend the United States faces
the paradox that compared to the rest of the world it falls far behind in terms of quality,
outcomes and cost!

There is an urgent need, a moral and a financial imperative for this nation to address the ever‐
increasing complexity of medical decision‐making, the deluge of data cluttering the ability for
both patient and provider to extract actionable information in real‐time, the disaggregated,
dangerous non‐system of care, as well as the ever increasing and unsustainable costs. Building
on the aims of the Accountable Care Act, the United States can and should implement a
comprehensive transformation of healthcare delivery nationwide. All parts of this health
ecosystem must be objectively measured so that patients, providers and payers can achieve
better access, better safety and better outcomes, all at lower cost, in real‐time. No such
infrastructure exists on a national scale for healthcare.

The National Cooperative, a partnership of the Chan Soon‐Shiong Family Foundation, the Chan
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Celgene Corporation, NantHealth, Bank of America, The Coca‐Cola Company, Verizon
Communications, the Clinton Foundation, major academic centers, and health systems. The
National Cooperative is pioneering a way for the complex macro‐ecosystem of people and
institutions to make their own information available and ask for others’, while keeping the very
highest standards for patient privacy in place…a National Healthcare Learning System for best
care at lower cost. In part it is a software solution, putting the best computation scholarship to
work where it matters most. In part it is a social solution, helping all the participants in the
world of healthcare to understand the benefits they would reap from a new approach of
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The National Cooperative is a commitment by visionary national leaders in philanthropy,
academia, and the private sector to chart a new course toward health integration for patients
in the United States and to share this innovation with the world. This national initiative re‐
imagines the way patients, doctors, and researchers across the nation can securely access
actionable health information at the point of care, in the time of need, for lower cost — a next‐
generation Internet for secure health information, transforming complex big data to evidence‐
based care and a continuously learning healthcare system in America.




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II.      The Imperiled State of Our Healthcare Non‐System

United States healthcare is a complex ecosystem of independent actors including patients,
providers, payers, policy makers, pharmaceutical manufacturers, distributors, insurers, and
researchers. Each actor is specialized within the delivery of care and is isolated in terms of the
information available to them. The complexity of the healthcare delivery system extends
beyond a scientific understanding of the human body and the environmental, genetic and
biological events that cause disease. Factors political, economic, and emotional impact the
steady state of the healthcare delivery ecosystem. Individual rewards and aspirations drive
behavior as each interacts, self‐organizes, learns, reacts, and adapts to one another. Having a
complex system for health is not inherently bad. However, legislation and policy have evolved
clinical care, public health and research practices into such a state that the U.S. healthcare
system is failing to systematically deliver measurable quality at acceptable cost. By all measures,
our expenses are high, there is real waste in the system, and
we cannot effectively measure what we value: quality, safety,
evidence‐based care, or the application of research progress.
                                                                      “We don’t really have a
In short, we have a non‐system.                                       healthcare delivery system in this
                                                                         country. We have an expensive
The U.S. healthcare system is characterized by:                          plethora of uncoordinated,
                                                                         unlinked, economically
1. Perverse incentives driving parochial competing entities              segregated, operationally limited
                                                                         microsystems, each performing in
    toward self‐interest                                                 ways that too often creates
2. Privacy protection managed as a liability rather than as a            suboptimal performance. We
    primary responsibility                                               have, at best, a nonsystem of care,
3. Monolithic proprietary data systems tightly coupled to                and truth be told, the current
    specific actions without data sharing or re‐use                      nonsystem of care is inconsistent,
                                                                         massively expensive, sometimes
                                                                         dangerous, operationally
The absence of integration, interoperability and secured                 inefficient, and dysfunctionally
access to data on a national scale is not limited by available           and sometimes perversely
technology only, but inhibited by perverse incentives. The               incented.”
absence of integration and the pursuit of perverse incentives
                                                                                         George Halvorson,
drive inappropriate utilization and increased waste and                          Health Care Reform Now!
inefficiency. In short, health and biomedicine in the United                A Prescription for Change 2007
States, though best in the world at virtuoso performances, is
fragmented and failing to meet its potential, with
unsustainable costs to the country.




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III.      The Imperative to Transform the Non‐System of Care

Patients look at their physician as a person of science,
trained to find a cure for the affliction causing pain and        “In a country with such great
suffering. Ironically, it is precisely the expanding scientific   wealth and resources as ours, the
advancements in the field that continue to make the clinical      disparity of care for the indigent
                                                                  and underserved is unacceptable.
practice of medicine increasingly complex rather than more        It is our obligation to work
efficient, reliable or effective. The explosion of scientific     together to transform the
knowledge has exceeded the cognitive capacity of the              healthcare system such that the
practicing physician thereby endangering the patient with         poor can receive care equal to
inappropriate delivery of healthcare.                             that available to the more
                                                                  fortunate, and share this
                                                                  innovation with the rest of the
Only through advances in health information management,           world. By establishing an
linking together information resources via advanced               interconnected intelligent network
networks using open architectures and open standards, is it       of health information and
possible for the clinician to regain the cognitive support        evidence‐based care, we have the
                                                                  opportunity for exporting health
needed for optimal care. Within this context, the following       innovation for the benefit of
core principles that guide The National Cooperative were          humanity.”
set forth.
                                                                         Patrick Soon‐Shiong, M.D.,
                                                                        California State of the State
                                                                                   Conference, 2006


Core Principles

      All patients needing
       medical     treatment
       have the right to
       immediate access to
       the latest scientific
       evidence about their
       disease or condition,
       and to be able to use
       that information to
       make         informed
       decisions with their
       physician and payer
       before      treatment
       begins.




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   Patients have the right to expect that their healthcare providers and payers are relying upon
    evidence‐based treatment guidelines when recommending the best course of treatment for
    their disease or condition.

   Patients have the right to be informed of next generation treatment options that are
    available in clinical trials for their disease or condition.

   Every patient in the United States has the right to the highest quality of care regardless of
    financial status. The disparity of care in one of the wealthiest nations in the world is
    unacceptable.

   The costs of the current healthcare delivery system are unsustainable.

   Transformation of the healthcare system is not just a moral and economic imperative, but is
    a necessity of national importance.




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IV.      Addressing the Non‐System of Care by Harnessing the Partnership of
         Expert Stakeholders at a National Scale

In the same year that Senator Lister Hill envisioned a national communications system – 1965,
Medicare was enacted to provide healthcare for the elderly. Yet after almost 50 years, the
country has not effectively addressed integration of the complex ecosystem of medical care in a
holistic manner at a national scale. A systems approach is required to address both the
complexity of the work‐flows of medical care at the micro level of the individual doctor,
scientist, hospital and patient while simultaneously addressing the macro policy issues of
universal access, disparity of care, and cost reduction. From the outset it is necessary to
integrate these complex micro‐ and macro‐systems to provide actionable information at the
point of care and to manage healthcare costs
while providing the highest quality care.
                                                        The implications for healthcare in the United
Perhaps the most significant impediment to              States, for patients afflicted with chronic
systematic transformation of healthcare has             debilitating diseases, for the scientific
been the challenge of gathering, inducing and           community and for the United States
                                                        economy are enormous. To realize the full
harnessing the collaboration of an enormously
                                                        potential of these biological interactive
diverse and complex spectrum of subject matter          systems, it is imperative that a
experts required to work collaboratively for a          multidisciplinary infrastructure be established
common cause. Without collaboration there is            to allow the full integration of scientists
simply no integration, without integration there        working in fields as diverse as clinical
                                                        medicine, surgery, biomaterial science and
is no data, without data there is no analysis,
                                                        cellular and molecular biology. Such
decision support or insights into outcomes, and         institutions will be the pharmaceutical
without a continuum of outcome analysis there           development sites of the future...to lower the
is no ability to provide the best patient care, nor     staggering cost of disease management and
the ability to modulate the practice of medicine        to enable the United States to maintain its
                                                        competitive lead in the field, it is critical that
at the lowest cost to the country—evidence‐
                                                        the pharmaceutical industries, academia, and
based medicine.                                         federal agencies such as the National
                                                        Institutes of Health, the National Science
Philanthropy driven by a sense of urgency and           Foundation and the Food and Drug
purpose can be an enormous catalyst for                 Administration collectively develop an
                                                        integrated policy...
innovation to challenge all sectors to develop
                                                                         Patrick Soon‐Shiong, M.D.
solutions at an unprecedented scale and scope.        Biomaterials Conference Address: Present and
In this case, philanthropy has fueled the                Future Perspectives, NIH, September 1995.
country’s best and brightest talent in science,
technology and healthcare to develop next‐
generation computing infrastructure that is
centered on the needs of the patient – all with a focus on protecting patient privacy. This
philanthropy, coupled with infrastructural investment already made by the National Science
Foundation, Department of Energy, and the National Institutes of Health (including National


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Center for Research Resources, National Library of Medicine, and the National Cancer Institute),
has contributed to this gathering of an organization unprecedented in scale and scope.

This partnership is designed to be a trusted, objective organization, interfacing public and
private interests with subject matter experts of national stature in healthcare delivery and
payment, basic and clinical research, public health, policy, pharmaceutical industry, community
outreach, next‐generation health information technology, high performance computing, and
engineering. This group has formed a common understanding and agreement that there is a
need to come together at national scale to address the country's healthcare crisis, and that
there is a widening gap between the rapid advancements in medicine and physicians’ cognitive
abilities to process and interpret such huge amounts of information at such a rapid pace. These
leaders have committed themselves to addressing this gap on behalf of patients so that the day
may come quickly when information technology makes it
possible for patients to be motivated together with their
physicians and payers to choose the right care for them,
at the right time, and based upon the most current               "We must develop a
scientific research.                                             communications system so that
                                                                the miraculous triumphs of
                                                                modern science can be taken
The nation’s massive inability to measure outcomes and          from the laboratory and
hence drive evidence‐based, preventative, predictive            transmitted to all in need."
medicine is addressable with authorized access to health
data on a national scale. Advances in distributed systems               Senator Lister Hill, 1965
make possible a network using open architectures and
                                                                 Cornerstone, Lister Hill Center,
standards, whereby evidence‐based treatment guidelines            National Library of Medicine
are applied to medical care delivery through the
payment system

Enabling authorized access to health data on a national scale will make it possible for the
healthcare industry to measure outcomes and hence drive evidence‐based, preventative,
predictive medicine. Sharing of data collected in the process of care is necessary for
understanding clinical performance and outcomes, conducting both exploratory and hypothesis
driven clinical research, and feeding back the results to systematically improve care. This
requires individual institutions to aggregate their own data and work with other institutions to
collect sufficiently heterogeneous and sized populations to enable understanding of the
complexity of human biology and disease. Progress will require explicit negotiation and
technical implementation of policies and procedures to share data.




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V.      Intelligent Clinical Operating System (iCOS) for Actionable Information at
        Point of Care and Time of Need

The technology being deployed by NantHealth is a platform of robust, distributed computing
technologies; referred to as the Intelligent Clinical Operating System (iCOS). These technologies
utilize robust, proven, open systems and architectures to address interoperability using private,
secure methods. Thus, they enable the possibility of authorized access to health data at a
national scale for the first time. Through iCOS patients, doctors, and researchers across the
nation can securely access actionable health information at the point of care, in the time of
need – best care at lower cost.




     Figure 1. National Integrated Health Network Architecture Providing Portals for All Stakeholders

At the core of the health system are billions of individual pieces of information that must be
glued together to form everything from longitudinal health records and records of patient
treatment to research databases. Information needs to be linked across the myriad of different
types of data systems, needs to incorporate paper records, and must be done in a secure and
privacy‐preserving manner. Furthermore, these connections must endure, lasting decades into
the future. Naming and linking are the fundamental operations upon which a robust and
national scale health information infrastructure can be built. For example, images produced by

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an imaging facility must be connected to genetic profiles. New, and as yet unknown, diagnostic
data must be connected to existing health records. Payment records must be connected with
diverse and distributed patent encounters. New information is continuously being published
throughout the system. The Intelligent Clinical Operating System can identify all of these
billions of single pieces of information by a method that is reliable, scalable and secure. iCOS is
capable of connecting current systems, including regional health information organizations
(RHIOs) and electronic medical records (EMRs), at a national scale.




       Figure 2. Intelligent Clinical Operation System (iCOS) Integrating Data Across All Input Points

Core to the design of iCOS are the concepts of distributed computing, modern service oriented
architecture (SOA), and other scalable robust technologies for information mapping, identity,
security, and analytics.

Once data, documents, or images are identified, iCOS technology can then connect the
disparate threads of information into a rich and flexible collection of health records
independent from local information systems and identification conventions. Information can be
linked together without disclosing the details, allowing these architectures to create health
records without requiring a unique patient ID and with preservation of patent privacy.

As these technologies are deployed, NantHealth gives particular attention to strengthening the
interface between the patient, provider and payer. When the technology simultaneously
delivers to this important triangle of decision‐makers unbiased, objective analysis of treatment
choices based upon the latest medical and scientific evidence, the patient and their physician
can make more informed decisions, and with the payer part of the loop, decisions of cost and
reimbursement are addressed up front.

iCOS technology is the tool to drive personalized, evidence‐based medicine at reduced cost. Its
interoperability enables; outcomes measurement; highest quality of care; preventative care;

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reduction in medical errors; and reduction in waste, fraud and abuse. Its capabilities for large
scale data sharing will meet requirements for: surveillance, national quality studies, national
population studies to refine individual care, pharmacovigilence, economies of scale, and
expanded clinical trial enrollment. The scalable architecture is already being demonstrated in
NantHealth’s current projects.




       Figure 3. iCOS Architecture Unifying Clinical, Operation, Financial, and Vital Signs in Real‐Time

The nation’s first intelligent clinical operating system (iCOS) is installed in the largest oncology
practice group in the nation and driving value based care across 150 practices, integrating 50
individual systems, managing 3.3M patient records across 22 EMRs, with real‐time data feeds of
50GB per day. This is the first cloud‐based operating system of its kind in healthcare that is
based on supply chain principles and grid service oriented architecture, that integrates the
knowledge base (21st century best care), with the delivery system (coordinated integrated
care), and the payment system (highest quality at lowest cost).

This integration of the knowledge base, delivery system, and the payment system in an
integrated approach, defines the roadmap to healthcare transformation as demonstrated in the
centerfold graphic, Continuous Learning System Delivering Healthcare Transformation.




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VI.      The War Against Cancer

Forty years have passed since President Nixon invoked the war against cancer. Since then we
have transported man to the moon, landed roving robots with pinpoint precision on Mars and
uncovered the mysteries of "God's Particle" through the efforts of scientists and the success of
the Large Hadron Collider, and solved the 3 billion sequences that make up the human genome.
Yet there is little to report on truly measurable progress against cancer.

The war against cancer must address three key issues:
   A. Transformational Innovation and Drug Development for Personalized Medicine
   B. The Cognitive Overload of a Practicing Oncologist
   C. Disparities in Cancer Care in the Local Community

A. Addressing Transformational Innovation and Drug Development for Personalized
   Medicine
   For the last fifty years, cancer care has followed the dogma of developing chemical poisons
   (cytotoxics) delivered at the maximum tolerated dose in patients afflicted with this disease.
   It is not surprising that little progress has been made as the treatment with these
   indiscriminate chemical poisons have largely been trial and error.

      The opportunity to change this paradigm exists with the breakthroughs in genomic and
      proteomic science. By transcending the genome and entering the age of the proteome, it is
      now possible to trace in near real‐time the evolution and change occurring in the cancer cell
      and identifying the driver of growth.




                                                                                   Time Magazine
                 Figure 4. Transcending the Genome to the Proteome                 May 20, 2012

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   Insights of personalized molecular drivers of cancer are derived not just from DNA
   alterations alone, but from protein expression and protein activity at the cellular level –
   proteomics. Thus there is a great need to develop molecular tools to provide the possibility
   of truly personalized treatment regimens at a fully integrated omics level, making no
   assumptions a priori as to the molecular driver of the patient’s disease.

   The Cancer Collaborative will develop a comprehensive molecular platform to analyze the
   entire whole genome of 3 billion base pairs and over 20,000 genes, of both the patient’s
   own normal and cancer cells. CSS Institutes scientists have successfully connected genomic
   analysis to proteomic analysis and have established the nation’s first comprehensive
   molecularly driven clinical decision platform, deriving insight from DNA to protein to
   peptide to drug in near real‐time, before clinical treatment begins. Through this
   comprehensive molecular analysis network, doctors can finally make cancer treatment
   more efficient, more effective, and more affordable for more patients. And with public and
   private partners equally as committed to reshaping the way doctors deliver healthcare and
   treat cancer, there are no limits to what this health information breakthrough might lead to
   for all cancer patients.

   The Cancer Collaborative will provide a highly scalable cloud‐based super‐computing and
   storage infrastructure capable of transporting, storing and processing thousands of
   genomes a day, computing genomic variances in near real‐time, and conducting
   quantitative multi‐plexed protein expression analysis in CLIA approved facilities, from the
   same microdissected tumor sample used for the genomic analysis. To date over 16,000
   cancer and germline genomes have been analyzed, including over 600 whole cancer
   genomes, across over 19 solid tumor types in over 4,000 unique patients from samples
   derived across the entire nation including the full data base of The Cancer Genome Atlas.

   By linking the patients’ comprehensive data from DNA, to RNA, to protein expression and
   targeted quantitative protein levels at the cellular level, to FDA approved drugs or drugs in
   all phases of clinical trials, this initiative provides a path to next generation drug
   development for the pharmaceutical industry.

   NantHealth and Celgene have partnered in this National Cooperative to utilize the power of
   n equals one for transformation innovation to develop personalized medicine in the 21st
   century.


B. Addressing The Cognitive Overload of a Practicing Oncologist
   There is an urgent need, a moral and a financial imperative for this nation to address the
   ever‐increasing complexity of medical decision making, the deluge of data cluttering the
   ability for both patient and provider to extract actionable information in real‐time, the
   completely disaggregated and dangerous non‐system of care, as well as the ever increasing
   and unsustainable costs.


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   With the enormous complexity of genomics and proteomics, it is impossible for a practicing
   physician to keep up with the deluge of new science. In the 1990s the clinician was faced
   with 5‐10 facts before making a
   decision as to the treatment of the
   patient. With the advent of
   genomics and proteomics, this
   number has risen to over 1,000 facts
   per decision – an impossible task
   (see Figure 5).

   The National Cooperative has
   addressed this by developing a
   cancer decision support tool. This
   cancer decision support engine as a
   SAAS tool is providing real‐time
   access to over 1,700 evidence based
   oncology treatment regimens and a
   library of 10,000 ongoing clinical
   trials is currently used by over 50
   percent of US oncologists equating
   to 32M covered lives.
                                                     Figure 5. Clinical Decision‐Making Exceeds
                                                     the Cognitive Power of the Physician




C. Addressing Disparities in Cancer Care in the Local Community
   The Institute of Medicine (IOM) report on “Delivering High Quality Cancer Care” describes
   the delivery of cancer care in our country as a “System in Crisis.” The report notes that
   complex new life‐saving treatments may be unavailable to patients in the community who
   lack access to sophisticated next generation tests and clinical trials. Yet, the vast majority of
   cancer care is delivered by community oncologists. This disparity in care means that
   important cancer advances will not reach the majority of patients in desperate need for
   them.

   The National Cooperative would raise the standard of healthcare for all Americans,
   especially those who are underserved by giving doctors in hard‐pressed urban clinics and
   distant rural offices the same information and intellectual advantages that providers in the
   best teaching hospitals have. It is a way to tap the knowledge, the work and the potential
   now hidden in our system, and make it available to all.




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VII.   Formation of The National Cooperative and The Cancer Collaborative

Leading national organizations across all sectors and multiple disciplines have agreed to
participate in this national endeavor to integrate health. The mission of The National
Cooperative is to enable secure, authorized access to scientific data and medical and molecular
information on a national scale. This will make possible trusted, unbiased, open, objective
analysis for patients, providers and payers, thereby enabling: personalized and evidence‐based
medicine among this important triangle of treatment decision‐makers. The National
Cooperative will catalyze a roadmap for healthcare transformation through: outcomes
measurement; highest quality of care; preventative care; reduction in medical errors; reduction
in waste, fraud and abuse; and a national system to overcome perverse incentives which
prevent the delivery of the highest quality of healthcare throughout the country.

The National Cooperative has assembled unparalleled resources and collaborations across
industry, and academia that are open to adopt next generation molecular medicine at a
national scale. The National Cooperative has access to nearly 700 cancer centers and
community hospitals; engaged pediatric oncology hospitals and thousands of providers linked
to hundreds of payers; participation among leading universities; urban health initiatives in
multiple regions; and support advanced fiber networks across 48 states.


How the National Cooperative Came Together

Beginning in 2004, the National Coalition of Health Integration was formed to ensure the
successful launch of a nationwide initiative and collaboration involving subject matter experts
in next‐generation health information technology, clinical research, healthcare delivery, public
health policy, and community outreach. Over the past decade The National Cooperative has
evolved as a consequence and has successfully enlisted such a team, who has formed a
common understanding and agreement that there is a widening gap between the rapid
advancements in medicine and physicians’ cognitive abilities to process and interpret such huge
amounts of information at such a rapid pace. These leaders have committed themselves to
addressing this gap on behalf of patients so that the day may come quickly when information
technology makes it possible for patients to be motivated together with their physicians and
payers to choose the right care for them, at the right time, and based upon the most current
scientific research.

Recognizing the urgent need to address the disparities of care and unsustainable healthcare
costs facing the nation, Dr. Patrick Soon‐Shiong, Founder and Chairman of Abraxis Bioscience
Inc. (the company that developed the nation’s first nanoparticle chemotherapy delivery agent,
which is now approved for the treatment of metastatic breast cancer, lung cancer, and
pancreatic cancer), and the Chan Soon‐Shiong Family Foundation, provided a series of
philanthropic gifts and grants from 2006 to 2008, in support of the Saint John’s Health Center to

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establish the Chan Soon‐Shiong
Center for Life Science, and
establish the Chan Soon‐Shiong
Center for Translational Science
at the California NanoSystems
Institute at UCLA.

From 2009 to 2013, Dr. Soon‐
Shiong funded The National
Coalition of Health Integration,
The National LambdaRail, The
Cancer Genome Browser, The
Healthcare       Transformation
Institute,      The       Cancer
Knowledge Action Network, the
CEO Council for Health and
Innovation at the Bipartisan Figure 6. The Chan Soon‐Shiong Center for Life Science
Policy Center, and NantHealth,              at Saint John’s Health Center
all of which have each initiated programs across the nation.

In 2014 NantHealth and the Chan Soon‐Shiong Institutes announced the collaboration with the
Clinton Foundation to improve coordination of care by standardizing medical information and
to improve employee health and wellness.


The Cancer Collaborative and Genomics America: 2014

In 2014 the Chan Soon‐Shiong Institute for Advanced Health will launch Institutes of Molecular
Medicine across the nation. The Chan Soon‐Shiong Institutes of Molecular Medicine (CSS
IOMM) mission is to fundamentally transform how patients afflicted with life threatening
diseases, such as cancer, are treated. An alliance of these Institutes and other leading medical
centers across the nation will form The Cancer Collaborative to facilitate rapid sharing of
molecular information on a global scale amongst these Institutes. This alliance will transfer
knowledge to the underserved and to practicing physicians in the communities in real‐time,
thereby ensuring that 21st century medicine would benefit all: a national continuously learning
healthcare system in America. Current members of the Cancer Knowledge Action Network and
The Cancer Collaborative includes UCLA Health System, John Wayne Cancer Institute,
Methodist Cancer Center, University of California Davis, Childrens Hospital Los Angeles,
Dartmouth‐Hitchcock Health System, Greenville Health System, Childrens Hospital of Phoenix,
and City of Hope, and University of Texas M.D. Anderson Cancer Center. These members of the
Cancer Cancer Collaborative will become members of a national alliance of providers
committed to molecularly driven care in cancer – Genomics America.



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VIII. Current Projects: National Impact for 21st Century Medicine

The unprecedented opportunity of the scientists engaged in translational research in the
country to integrate their work with basic research being performed at national scale, using the
same infrastructure and architecture, has enormous implications for the 21st century practice
of medicine. The evolution of molecular medicine is occurring at such a rapid pace that the
information which would impact clinical decision‐making is beyond the cognitive abilities of the
practicing physician. Basic research, translational research, and the practice of medicine will be
a single blur for 21st century medicine. The actionable knowledge obtained by the integration
of basic research and translational research and utilized by the clinical practitioners will serve as
a model for the nation.

The collaborators amassed by The National Cooperative are at the heart of both the nation's
computing infrastructure and the practice of medicine for the next century. By harnessing these
enormous collective talents, the opportunity exists to transform medicine in this country and
reduce costs. Leveraging robust interoperability we can achieve a true national system that can
overcome perverse incentives currently preventing the delivery of highest quality healthcare
throughout the country. By exposing the value added by each player in the pipeline we will
eliminate the waste of non‐value‐added services. Finer understanding will enable decision‐
makers to refine their work if incentivized toward public good.

A. Transitioning to 21st Century Care and Decreasing costs and enhancing efficiencies:
   Creating a model of 21st century care that is data driven, evidence‐based and integrates
   research and clinical practice into a continuum that will allow for personalized medicine.
   Facilitating data access that will decrease costs and increase efficiency through the early
   detection and prevention of disease, increased transparency in costs, administrative
   streamlining and improved care.

1. Integration and Coordination of
   Care in 50 Systems Across 150
   Oncology Practices

   The Nation’s First Intelligent
   Clinical Operating System (iCOS) is
   installed in the largest oncology
   practice group in the nation and
   driving value based care across
   150 practices, integrating 50
   individual systems, managing 3.3M
   patient records across 22 EMRs,
   with real‐time data feeds of 50GB
   per day.
                                               Figure 7. iCOS Case Study

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   This is the first cloud‐based operating system of its kind in healthcare that is based on
   supply chain principles and grid service oriented architecture, that integrates the knowledge
   base (21st century best care), with the delivery system (coordinated integrated care), and
   the payment system (highest quality at lowest cost).


2. Cancer Decision Support of Over 1,000 Cancer Treatment Protocols Across 120 Cancer
   Types

   An aging population and increased diagnosis of cancer contributes to the approximately
   11.7 million people in the nation who are living with cancer today. The number of cancer
   cases continues to rise and so does the cost associated with treating the disease. What
   creates an even greater challenge is the fact that oncologists today are facing an astounding
   growth in the amount of data that can aid them in their decision making process but are
   currently without the capability to convert that data into actionable intelligence. This
   advanced cloud‐based, SAAS, oncology decision support system has been adopted by ASCO
   and large insurers and enables providers and their staff real‐time access to evidence‐based
   intelligence at the point of clinical prescribing. It provides the nation’s most comprehensive
   and unbiased digital library of evidence‐based oncology treatment regimens available,
   taking into account costs, outcomes, efficacy and toxicities. It includes over 1,000 treatment
   standards across 120 cancer types.



                       Widespread and Rapidly Growing Adoption




                 Figure 8. Cancer Decision Support Tool (eviti) Widespread Adoption:
                           Over 60% of oncology practices and over 8,000 oncologists
                           and nurses have used this tool

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This robust library is meticulously drawn from data from governmental and industry
sources, and is maintained by expert oncologists, a world‐class medical advisory board, and
other medical informatics professionals. Featuring the most comprehensive cancer clinical
trials search engine and database of thousands of clinical trials, eviti prompts physicians
when a patient’s diagnosis matches the criteria for active clinical trials. It facilitates accrual
of patients into appropriate clinical trials through intelligence gained by results from
advanced diagnostic support and the patient’s specific clinical data, and includes workflows
for gathering consent forms and sharing information relevant to the trials.

                     Personalized and Evidence-Based Regimens




 Figure 9. Sample eviti results page: real‐time web‐based tool for actionable information,
           evidence‐based care, outcomes and cost

This transformative web‐based solution connects clinical decision support and automated
pre‐certification for oncology care. The eviti automated pre‐certification solution aligns the
interests of payers, providers and patients. Through the platform, payers have visibility at
the moment of prescribing and providers can be confident the treatment meets clinical
requirements for reimbursement. Providers benefit from a reduction in denials and appeals.
Over the two years since launch, over 60% of oncology practices and over 8,000 oncologists
and nurses have used this tool.

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3. From Genomics to Proteomics: Actionable Treatment for Cancer at the Molecular Level
   The study and treatment of cancer is greatly enhanced from a detailed understanding of
   how the disease is affecting an individual patient at the molecular level. Recent
   developments in genetic testing and molecular profiling technologies are heralding in a new
   era of personalized and predictive medicine. Up to now, tests have often been prone to
   subjective interpretation, and genetic testing has involved only a fraction of the human
   genome. Whole genome sequencing
   has been rare, because it has been
   difficult and expensive to do, and due
   to the sheer volume and complexity of
   data generated. New advancements
   are making this a more viable and
   affordable proposition. Oncologists
   currently prescribe a course of cancer
   treatment based on the anatomical
   location of the cancer. Yet a patient
   with breast cancer could benefit from          Time Magazine
   the positive results discovered from a Time May    20, 2012
                                                  Magazine, May 20, 2012
   patient with lung cancer, if the
   underlying      molecular     pathways Figure 10. Transcending the Genome to the Proteome
   involving both cancers were the same.

   The inability to utilize genomic sequencing to guide treatment has been due to the inability
   to convert a patient’s DNA into actionable information in actionable time. In October 2012,
   The Chan Soon‐Shiong Institute for Advanced Health announced a revolutionary advance in
   cancer treatment that will reduce the necessary time for analysis from 8 weeks to an
   unprecedented 47 seconds per patient. For the first time, oncologists can compare virtually
   every known treatment option on the basis of genetics, risk, and cost – before treatment
   begins, not after.


4. From DNA to RNA to Protein to Peptide to Molecular Driven Clinical Decision
   In July 2012, the CSS Institute’s scientific team collected 6,017 tumor and germline exomes,
   representing 3,022 cancer patients with 19 unique cancer types. The sample collection
   included: 999 breast cancer; 1,156 kidney and bladder cancer; 985 gastrointestinal cancer;
   744 brain cancer; 745 lung cancer; 670 ovarian, uterine, and cervical cancer; 436 head and
   neck cancer; 177 prostate cancer; 70 melanoma cancer; and 35 blood tumor samples.

   This massive amount of data totaled 96,512 gigabytes and was successfully transferred and
   processed via our supercomputing, high‐speed fiber network in 69 hours. This overall
   transfer speed represents a stream of one sample every 17.4 seconds, and the
   supercomputer analysis for genetic and protein alterations between the tumor and normal
   sample completed every 47 seconds per patient. Given the nation’s estimated cancer rate
   of 1.7 million new cases in 2012, this infrastructure now brings the capability of analyzing

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   10,000 patients per day. Through this genomic analysis network, doctors can finally make
   cancer treatment more efficient, more effective, and more affordable for more patients.
   And with public and private partners equally as committed to reshaping the way doctors
   deliver healthcare and treat cancer, there are no limits to what this health information
   breakthrough might lead to for all cancer patients.




          Figure 11. Next Generation Omics Platform:
                    DNA and Protein at the Cellular Level from the Same Tissue Sample

   Institute scientists have developed a mass spectrometry‐based assay to measure the
   functional proteins that make a patient's tumor unique. This multiplexed method is one of
   the most sensitive and specific detection tools available in the clinical laboratory today.
   Direct measurement of actual proteins that drugs are designed to target enable re‐porting
   quantitative cut‐off values, resulting in greater confidence in choosing appropriate targeted
   therapies, while avoiding therapies that may be ineffective or harmful to patients.


B. Increasing Access to Care: Reducing disparities in care and variations in access to health
   resources by leveraging technologies such as low cost telehealth that increase access in
   underserved urban and rural areas as well as in primary care specialties such as pediatrics
   where access to neonatologists and pediatricians is deficient.

1. Telemonitoring (At‐Home Data Capture)
   NantHealth recently piloted a program targeting homebound, high cost, chronically and
   terminally ill patients in San Diego. These patients had between 3 and 5 comorbidities with

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   multiple readmissions at the hospital. Twenty patients were monitored for SpO2 and
   activity levels while being cared for in homes. The pilot goal was to improve quality of care
   while reducing cost (by reducing hospital readmissions). Results to date: only 1 readmission
   in 60 days into the program




      Figure 12. Patient Experience in U.S. Healthcare System.
      Graphic source: Best Care at Lower Cost, Institute of Medicine, 2013




2. “I See You at Home:” Housecalls for the Chronically Ill
   A second pilot was initiated at UC Irvine (UCI), targeting 40% of CHF patients to prevent
   hospital readmissions. Data points (weight values) were collected from wireless enabled
   scales in patient homes and delivered wirelessly to UCI analytics solution for generation of
   notification messages (potential interventions). UCI is exploring pilot expansion into
   additional patient populations; utilizing devices such as blood pressure, heart rate, pulse
   oximetry, and glucose monitoring.


                            HBox – In-Home Connectivity




      Figure 13. Connectivity of Wireless Devices Capturing Vital Signs: The Human Signal Engine




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3. Real‐time Wireless connectivity: Capturing the Human Signal Engine

   Real‐time wireless biometric and vital sign health boxes and DeviceConX boxes are installed
   on a national scale. Device connectivity is now operational at over 250 hospitals, including
   120 Epic sites, connecting over 6,000 medical devices and capturing 3 billion vital signs
   annually.




      Figure 14.DeviceConX Connectivity of Wireless Devices Capturing Vital Signs:
                The Human Signal Engine



C. Enhancing Patient‐Centered Care: The network architecture assembles data longitudinally
   over time with the patient as the starting point. The patient centered integrated health
   record is a self‐assembly of dynamically changing health information secured and utilized
   over the lifetime of the patient and their care‐givers to maintain health, rather than
   episodic treatment of disease. Information is drawn from the silos where it currently
   resides and self‐assembles around the needs of individuals.

1. Medication Adherence with wireless connected GlowCaps
   Medication adherence is in the best interest patients,
   doctors/providers, caregivers, and employers. Using tools such as
   the Vitality GlowCap, selected patient populations increased
   medication adherence from 65% adherence to over 95%
   adherence, in some cases. GlowCaps use feedback loops to
   promote behavior change. Visual and audible cues or even phone
   calls are personal reminders for the consumer/patient to take their
   medication. Weekly email reports can be sent to a family member
                                                                              Figure 15. GlowCap
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   or friend for social network support. GlowCaps have a push to refill button that can
   automatically call the pharmacy to refill the prescription when pressed. GlowCaps have
   been studied by the University of Pennsylvania and Harvard University, with proven
   increased medication adherence in patient populations. Bank of America has piloted this
   program with a significant improvement in compliance in employees with hypertension.


2. Establishing a Next Generation National Secure Infrastructure for Big Data Transport
   In March 2011 CSSIAH announced the construction of data centers in Phoenix and
   Scottsdale dedicated to health information storage, and also the construction of a
   dedicated supercomputer in Phoenix.

   In 2011 the National Coalition for Health Integration provided funding to maintain the
   viability of the National LambdaRail (NLR). The NLR provided a platform for numerous large
   research projects. Its users included NASA, the National Science Foundation and US
   institutions connecting with the Large Hadron Collider in Switzerland. A next generation
   advanced fiber network, connected across the nation to multiple cancer centers and to the
   NCHI supercomputer in Arizona, is now needed. The NLR fiber infrastructure was designed
   for basic science and the physics scientific community. There is an urgent need to replace
   this aged infrastructure of the NLR with a modern fiber network integrated into clinical
   practices and hospital facilities across the nation. The National Cooperative has initiated this
   process of creating a new next generation national secure infrastructure for big data
   transport with the private sector.


D. Establishing partnerships with Fortune 500 companies and non‐profits

1. Formation of the CEO Council of Health and Innovation with the Bipartisan Policy Center
   Founded in 2007 by former Senate Majority Leaders Howard Baker, Tom Daschle, Bob Dole
   and George Mitchell, the Bipartisan Policy Center (BPC) is a non‐profit organization.
   Comprised of the chief executives of some of the nation’s largest employers, the BPC CEO
   Council on Health and Innovation, formed in 2013, is identifying and sharing innovative
   strategies and best practices to improve the health and wellness of employees and the
   quality and cost‐effectiveness of care. Their goal is to highlight and encourage adoption of
   such practices by other large and medium‐sized employers to improve employee health and
   the healthcare.

   The CEO Council is co‐chaired by Lowell McAdam, chairman and CEO of Verizon
   Communications; Muhtar Kent, chairman and CEO of The Coca‐Cola Company; and Patrick
   Soon‐Shiong, MD, chairman and CEO of the Institute for Advanced Health. Other members
   of the CEO Council are: Brian T. Moynihan, CEO of Bank of America; Dominic Barton,
   Managing Director of McKinsey & Company; Mark T. Bertolini, chairman, CEO, and
   president of Aetna; Philip I. Kent, chairman and CEO of Turner Broadcasting System, Scott P.
   Serota, president and CEO of BlueCross BlueShield Association; and Greg Wasson, president

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   and CEO of Walgreen Co. Former U.S. Senate Majority Leaders and co‐leaders of BPC’s
   Health Project, Tom Daschle and Bill Frist, are advising the council and Janet Marchibroda,
   BPC’s director of health innovation, is serving as its executive director.

   A Health Care Advisory Board, made up of chief executives of organizations representing
   clinicians, consumers, health plans, and hospitals, is providing expert guidance in this
   collaborative effort.


2. Partnership with the Clinton Foundation

   In January 2014, at the Clinton Health Matters Conference, NantHealth and the Clinton
   Foundation announced a collaborative partnership with to improve domestic health
   nationwide. This initiative will target key issues facing healthcare in our nation ‐
   coordination and integration of care through the standardization of digital medical records
   with iCOS, improving employee population health, and 21st century cancer care.

   The partnership between NantHealth and the Clinton Health Matter Initiative will also work
   with other organizations such as Bipartisan Policy Center CEO Council on Health and
   Innovation and local experts to develop long term plans designed to measurably improve
   the health and wellness of individual employees and employee communities. As part of this
   endeavor, the partnership will adopt a comprehensive package of customized well‐being
   practices, to be endorsed and implemented by large and medium‐sized employers in the
   region.




                                                                                   31 | P a g e
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                                Patrick Soon‐Shiong, M.D.
Dr. Patrick Soon‐Shiong has lent vision, voice, and action to the power of convergence –
applying the limitless potential of collaborative science and technology on a personal level. A
physician, surgeon and scientist, he has pioneered treatments for both diabetes and cancer,
published over 100 scientific papers, and over 60 patents on groundbreaking advancements
across myriad fields.

Dr. Soon‐Shiong performed the world’s first encapsulated human islet transplant and the first
pig to man islet cell transplant in diabetic patients. He invented and developed Abraxane, the
nation’s first FDA approved protein nanoparticle albumin‐bound delivery technology for the
treatment of cancer, doubling the response rate in patients. Abraxane is now FDA approved for
metastatic breast cancer in 2005, lung cancer in 2012. In 2013, the FDA approved Abraxane for
pancreatic cancer and the drug has made significant and measurable improvements in
melanoma – cancers for which there have been no advancements in 20 years.

Dr. Soon‐Shiong serves as Chairman of the Chan Soon‐Shiong Family Foundation; Chairman and
CEO of the Chan Soon‐Shiong Institute for Advanced Health (the CSS Institute); the Healthcare
Transformation Institute; and NantWorks, LLC – a company whose mission is to converge
semiconductor technology, supercomputing, advanced networks, and proven innovation to
revolutionize how we work, live and play. He currently co‐chairs the CEO Council for Health and
Innovation at the Bipartisan Policy Center and is a member of the Global Advisory Board of
Bank of America.

Over the course of his career, Dr. Soon‐Shiong has developed and sold two multi‐billion dollar
pharmaceutical companies. He is working to create a cutting edge national health information
network for the secure sharing of medical information – empowering doctors to treat patients
with proven precision at the first point of care.

Among his many positions, Dr. Soon‐Shiong is the Executive Director of the UCLA Wireless
Health Institute and a board member of the California Telehealth Network. The Los Angeles
Business Journal has recognized him as their Business Person of the Year, and the National
Library of Medicine honored him with their Distinguished Medical Science Award.
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                  Exhibit 11




                  Exhibit 11
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Healthcare Collaborative Booklet recipients                                                                                 12/15/16, 5:14 PM




 Healthcare Collaborative Booklet recipients
 Janella Funes
 Sent:      Friday, January 17, 2014 10:31 AM
 To:        Jen Hodson; Janella Funes
 Cc:        Patrick Soon-Shiong
 Importance:High


 Hi,

 Below are the recipients of the booklets:
     · Phil Gordon
     · David Feinberg (UCLA)
     · Lynda Chin (MD Anderson)
     · Brian Moynihan (BofA)
     · Jim Huﬀman (BofA)
     · President Clinton – 3 copies

 There are two copies leL- Jen and PSS should both have one.

 Let us know if this is not the case.

 Janella

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                  Exhibit 12




                  Exhibit 12
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                  Exhibit 13




                  Exhibit 13
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Billionaire Patrick Soon-Shiong Wants To Remake The U.S. Health Care System                                                               12/15/16, 12:09 PM




                                                                                                        http://onforb.es/sbZbJ6




                                  Zina Moukheiber Contributor

                                  I cover digital health; I'm also the editor of Forbes Middle East
                                  Opinions expressed by Forbes Contributors are their own.




                     BUSINESS   11/10/2011 @ 3:05PM         17,946 views



                    Billionaire Patrick Soon-Shiong Wants
                    To Remake The U.S. Health Care
                    System
                    Patrick Soon-Shiong is
                    a rarity. He is the only
                    physician on the Forbes
                    400 list to have made
                    billions in biotech. He
                    developed a new
                    delivery method to
                    administer Paclitaxel, a
                    widely-used breast
                    cancer drug. His net
                    worth is estimated at $7
                    billion, which he made
                    by selling two drug
                    companies within the
                    past three years. Altogether, he is one of only
                    three biotech billionaire entrepreneurs in the
                    U.S.

                    Soon-Shiong has now turned his focus to
                    something as complex and elusive as a cancer
                    cure: The U.S. health care system. His highly
                    ambitious plan calls for establishing a national
                    health information network that connects
                    scientists around the country working on
                    breakthrough medical research with doctors and
                    their patients, and pushing for rewarding doctors
                    based on a patient’s outcome, instead of the
                    number of procedures they perform.


http://www.forbes.com/sites/zinamoukheiber/2011/11/10/billionaire-patrick-soon-shiong-wants-to-remake-the-u-s-health-care-system/print/          Page 1 of 4
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Billionaire Patrick Soon-Shiong Wants To Remake The U.S. Health Care System                                                               12/15/16, 12:09 PM



                    So far, he has invested a total $400 million on
                    projects and companies through his non-profit
                    Chan Soon-Shiong Institute for Advanced
                    Health, and his newly-formed holding company
                    NantWorks. He has also partnered with the
                    University of Arizona, and Arizona State
                    University to establish the Healthcare
                    Transformation Institute. Soon-Shiong and his
                    wife Michele Chan have already pledged $1
                    billion for health IT projects.

                    Other deep-pocketed entrepreneurs before him
                    with grand scale visions of fixing a disparate
                    health care system have thrown money at the
                    problem and failed. Netscape co-founder Jim
                    Clark was as passionate about it, forming
                    Healtheon, which set out to connect doctors,
                    insurance companies, and patients over the
                    internet. Healtheon was eventually folded into
                    WebMd, a company that is now seemingly in
                    need of rescue. AOL founder Steve Case had the
                    same disruptive vision when he formed
                    Revolution Health in 2005. The company is now
                    more modestly part of online consumer health
                    site Everyday Health, a competitor to WebMd.

                    Timing could work in Soon-Shiong’s favor.
                    There’s a government-mandated push to
                    implement electronic health records, and to
                    encourage the establishment of accountable care
                    organizations—hospitals, doctors, and payers the
                    government rewards not on a fee-for-service
                    basis, but on how well they manage the wellness
                    of a Medicare patient by reducing readmission
                    rates, for instance. There’s also the creation of so-
                    called health information exchanges, health care
                    providers that have the ability to exchange
                    patient information. None of those initiatives
                    existed when Healtheon and Revolution Health
                    were formed.

                    One of Soon-Shiong’s first moves was to take
                    over the National Lambda Rail, the high speed
                    link which connects academic centers throughout
                    the country, but is also used by NASA and
                    institutions working with the Large Hadron
                    Collider. NLR was running out of money, and
                    Soon-Shiong offered to write a $100 million
                    check in July to upgrade the entire network. He

http://www.forbes.com/sites/zinamoukheiber/2011/11/10/billionaire-patrick-soon-shiong-wants-to-remake-the-u-s-health-care-system/print/          Page 2 of 4
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Billionaire Patrick Soon-Shiong Wants To Remake The U.S. Health Care System                                                               12/15/16, 12:09 PM



                    is talking to genome sequencing centers about
                    linking up, and has picked cancer as his
                    institute’s first focus. The Institute for Advanced
                    Health is based in Arizona, where patient
                    sequencing data is stored in two data centers in
                    Phoenix and Scottsdale, and crunched on a
                    supercomputer in Phoenix that was launched last
                    month.

                    It sounds futuristic, but Soon-Shiong wants to
                    make the genomic information available in real
                    time to doctors so they can tailor treatment,
                    circumventing the twelve or more years it takes a
                    drug to reach the market. One example he gives,
                    is newly-emerging information that not all
                    women with breast cancer who have cancerous
                    lymph nodes in the armpit need to have them
                    surgically removed. Scientists can look for telltale
                    DNA markers in tumors to see which women can
                    escape surgery. A doctor can then administer a
                    blood test that helps him make that decision.

                    Soon-Shiong is still putting the pieces of the
                    puzzle in place to implement his slew of ideas. He
                    has invested in a dozen companies. Here are
                    some of his partnerships, and companies:

                    –Vitality: Maker of GlowCaps. Reminds patients
                    to take their meds by lighting up the bottle cap
                    which also plays music or rings a phone.

                    –Dossia: Maker of personal health records.

                    –Ziosoft: Visualization technology that enables
                    clinicians to build multi-dimensional images of
                    internal organs and tumors.

                    –Toumaz: Remote monitoring of patients.

                    –Vodafone: Partnership to develop mobile health
                    services. Identifies and invests in health IT start-
                    ups.


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                    Where Are Biotech's Billionaires?

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Billionaire Patrick Soon-Shiong Wants To Remake The U.S. Health Care System                                                                    12/15/16, 12:09 PM



                    The Best And Worst College Towns In The U.S.

                    Super Mario Run Is Coming To Ios On December
                    15




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                  Exhibit 14




                  Exhibit 14
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                The Precision Against Cancer PAC
The Moonshot Program to Develop a Cancer Vaccine for “I am N = 1”
In the way that JFK took us to the moon, this Administration has the opportunity to
complete its own moonshot moment: A personalized and revolutionized healthcare
system – completely changed for the rest of time, with electronically connected
consumers receiving the right care at the right time and the right place. With the advent of
next generation genomic sequencing and precision immunotherapies, the exciting
possibility of bringing 21st century precision medicine to patients today is very real.
Imagine the possibility of creating patient-specific cancer vaccines and harnessing the
patient’s own natural killer cells that can treat and prevent the recurrence of cancer. We
no longer have to just dream as this revolution of creating a cancer vaccine for N of 1 is
at hand...and can be a lifelong legacy of this Administration.

This journey is nearly complete, as the Administration has already begun:
Over the course of this Administration’s tenure, its efforts has:
   1) digitized and captured data through its EHR Meaningful Use incentive program,
   2) moved forward deliberately to accelerate and drive interoperability and electronic
       data exchange,
   3) enabled patients to connect to the health system and health systems and
   4) most importantly, the President has launched a call to action for personalized care
       by initiating the Precision Medicine Initiative (PMI).

Now, the last mile of this journey involves integrating healthcare data at a national scale
and establishing tangible proof points for the Precision Medicine Initiative (PMI) to
translate the promise into a complete and transformative success.

Plans now under consideration include:
   • ONC’s focus on interoperability standards, data blocking and coordinated
      expectations from federal partners help to achieve data interoperability at national
      scale.
   • PMI’s “Sync for Science” – a program whereby participants can contribute data
      and which delivers on the promise of valuable clinical use cases for consumer
      engagement. Patients will be able to contribute their available data into the PMI
      (having already consented into the cohort),
   • PMI’s Cohort Program (PMI-CP) more generally strives to achieve the assembly of
      a PMI cohort of one million volunteers, leveraging existing relationships and
      resources to facilitate recruitment.

With 16 months to go, it is a perfect moment for the Administration to deliver on this last
mile, cementing this healthcare transformation into the fabric of healthcare.

The Proposal: The Cancer QUILT Coalition to Harness the Immune System
A revolutionized healthcare system by implementing the last mile with the launch of The
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Cancer QUILT Coalition, a Quantitative, Integrated, Lifelong Trial for Cancer (QUILT), a
national precision medicine trial with a laser focus on creating a game changing vaccine
for cancer, the moonshot program as a lasting legacy of this Administration.

The Next Steps:
   • Accelerate Precision Medicine Initiative Cohort Program. The Cancer Quilt
     Campaign and Precision Medicine against cancer movement can act as the
     accelerator.
   • Achieve interoperability at a national scale.
   • Perform full genomic (DNA) and transcriptome (RNA) sequencing for 100K cancer
     patients in next 400 days.
   • Perform supercomputer-based bioinformatics on an individual, patient-specific
     basis to precisely guide therapeutic intervention.
   • Perform big data, precision analytics on this patient dataset in real time in a
     secure, HIPAA-compliant environment, to ensure that each patient is receiving the
     most up-to-date and optimized therapeutic intervention possible.

The QUILT Coalition:
A movement to transform cancer care will require the integration of employers, health
plans, EHR vendors, medical groups, physicians, researchers and critical information
providers, all working collaboratively together with the FDA, the National Cancer Institute
and other governmental agencies… and most importantly patients and their families.

This can only be done through an intelligent and integrated network that we are
establishing to enable this diverse ecosystem of stakeholders to seamlessly connect in
real time.

For the first time, by integrating oncology, biology, comprehensive, panomic-based
molecular diagnostics, supercomputer technology and advanced information sciences,
this coalition will have access to easy-to-use and actionable health information at the
point of care, in the time of need, anywhere, anytime.

We have the capability within our reach to empower physicians, patients, payers and
researchers with the critical information necessary to overcome the limitations of the
current healthcare system, bringing the promise of the Administration’s Precision
Medicine Initiative to cancer patients today.

Representing a diverse group of stakeholders, the Cancer Quilt Network shares a
common vision, passion and commitment to transforming the treatment of cancer and we
believe the QUILT initiative will take us one step closer down the road to a cure for
cancer. We are ready to get started.


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                  Exhibit 15




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NOV. 1, 2015

WASHINGTON — One day last winter, desperate
as his son fought for his life against a killer brain
cancer, Vice President Joseph R. Biden Jr. and his
family reached out to one of America’s most
famous, and controversial, doctors for help.

The doctor, Patrick Soon-Shiong, a billionaire
medical entrepreneur and investor who made a
fortune developing an important cancer drug
and now has broader ambitions for fighting
cancer, flew to Washington from California to
meet with the vice president’s family. That
would open a series of meetings over time with
the vice president as well as with Beau Biden,
the ailing son.

In the end, Beau Biden died of his cancer in May. But the vice president and the
cancer doctor have developed a relationship that is powering the next stage of Mr.
Biden’s public life. Having concluded that he did not have enough time to defeat
Hillary Rodham Clinton for the Democratic presidential nomination, Mr. Biden is
instead embarking on a campaign perhaps more daunting: finally defeating cancer.

“I believe that we need a moonshot in this country to cure cancer,” Mr.
Biden said in his speech in the White House Rose Garden last
month announcing that he would not run for president. “It’s personal. But I know we
can do this.”

In describing this “moonshot,” Mr. Biden was adopting language used by
Dr. Soon-Shiong to describe his aspiration for cancer research. The two
met for an hour in the White House just a few weeks ago, and Dr.
Soon-Shiong gave the vice president a two-page outline of what he had in mind.

“We need to find a completely different way to change cancer care in this country,” Dr.
Soon-Shiong said in an interview. “Vice President Biden could play an amazing role in
making this happen.”
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...Federal cancer funding has been relatively flat for more than a decade except for
a onetime $1.3 billion burst from President Obama’s stimulus program early in
his administration. For the 2016 fiscal year, the National Cancer Institute asked for
$5.8 billion, and Mr. Obama pared that to $5.1 billion in his proposed budget,
roughly the same as in 2010.

The two-page paper Dr. Soon-Shiong gave Mr. Biden, titled in part “The
Moonshot Program to Develop a Cancer Vaccine,” advocates an expanded use of
genome sequencing to understand individual cancers better and tailor treatments
depending on their genetic characteristics. It forecasts the creation of patient-
specific cancer vaccines that harness a person’s own “natural killer cells” to treat
and prevent the recurrence of cancer.

The paper, obtained from an associate of Mr. Biden’s, proposes performing full
genomic sequencing of 100,000 cancer patients in the next
400 days to create a vast database for supercomputer analysis, although no price tag
is mentioned. “With 16 months to go, it is a perfect moment for the administration
to deliver on this last mile, cementing this health care transformation into the fabric
of health care,” it says.

Dr. Soon-Shiong, 63, the son of Chinese immigrants growing up in apartheid-era
South Africa, studied medicine and eventually moved to the United States, where
he worked as a surgeon. He invented the cancer drug
Abraxane in the early 1990s and has become a major investor in medical
businesses, philanthropist and part-owner of the Los Angeles Lakers. With his
NantWorks health empire, he has accumulated a fortune estimated by Forbes at
$12.5 billion, and he was featured last year on “60 Minutes” as the man trying to
disrupt cancer...
